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IN THE UNITED ST¥ ve ICDWGQURT
FOR THE DISTRICT ANWR)

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MICHAEL H. HOLLAND et al., TRUS TES
OF THE UNITED MINE WORKERS OF "+ DEP UT y
AMERICA COMBINED BENEFIT FUND,
Plaintiffs,
V. No. 04-679-RDB

ATLAS ALLOYS, INC. et al.,

Defendants.

 

PLAINTIFF TRUSTEES’ NOTICE OF DISMISSAL

Pursuant to Fed. R. Civ. P. 41(a)(1)(i), plaintiffs Michael H. Holland et al., Trustees of
the UMWA Combined Benefit Fund hereby submit this notice dismissing the instant action
against the 13 remaining defendants -- Atlas Alloys, Inc., BH & H Coal Co. Inc., B & L
Excavation Co., Inc., Charbon Bridge Inc., Continental Conveyor & Eqp Co., Contracting
Engineering, Derby Surface, Inc., Fetterolf Group, Inc., Gem Coal, Inc., Gene R Jones Trucking,
Inc., Matt Mining Company, Inc., Old Circle Coal Co. and Sodder Trucking Co. None of the 13
defendants has answered or otherwise appeared in the action, and the Clerk of Court entered

default against the 13 defendants on February 8, 2005 (Dkt. #21) upon motion of the plaintiff

Trustees (Dkt. #20).

APPROVED, this 12th day of March, 2007.

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Richard D. Bennett
United States District Judge
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Respectfully submitted,

/s/
Howard R. Rubin - No. 16009
William E. Copley I
Sonnenschein Nath & Rosenthal LLP
1301 K Street, N.W.
Suite 600, East Tower
Washington, D.C. 20005
Ph: (202) 408-9164
Fax: (202) 408-6399

/s/
Stephen J. Pollak
John Townsend Rich - No. 05794
(by Howard R. Rubin with permission
of Stephen J. Pollak)
Goodwin Procter LLP
901 New York Ave., N.W.
Washington, D.C. 20001
Ph: (202) 346-4000
Fax: (202) 346-4444

William J. Murphy - No. 00497
John J. Connolly - No. 09537
Murphy & Shaffer LLC

36 S. Charles Street, Suite 1400
Baltimore, MD 21201

Ph: (410) 783-7000

Fax: (410) 783-8823

Attorneys for Plaintiffs Michael H. Holland eg al.,
Trustees of the UMWA Combined Benefit Fund

March 12, 2007
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CERTIFICATE OF SERVICE
I hereby certify that I have, this 12" day of March 2007, served the Plaintiff Trustees’
Notice of Dismissal upon the parties who have not registered for electronic filing by causing

copies thereof to be delivered by first-class mail, postage prepaid, as follows:

ATLAS ALLOYS, INC.
P.O. Box 297
Atlasburg, PA 15004

B & L EXCAVATION CO. INC.
Box 467
Lynco, WV 24857

BH&HCOAL CO.
1008 Fifth Ave.
Ford City, PA 16226

CHARBON BRIDGE INC,
P.O. Box 249
Madisonville, KY 42431

CONTINENTAL CONVEYOR
& EQP CO.

P.O. Box 400

Winfield, AL 35594

CONTRACTING ENGINEERING
148 Bristol East Road
Bristol, VA 24202

DERBY SURFACE INC.
P.O. Box 940
Big Stone Gap, VA 24219

FETTEROLF GROUP, INC.
227 New Centerville Road
Somerset, PA 15501

GEN COAL CO.
1077 Virginia Road
Cheyenne, WY 82009-8034

GENE R. JONES TRUCKING, INC.
243 Ridge Ave.
Homer City, PA 15748

MATT MINING COMPANY, INC.
P.O. Box 940
Big Stone Gap, VA 24219

OLD CIRCLE COAL
P.O. Box 3127
Pikesville, KY 41501

SODDER TRUCKING
P.O. Box 237
Alloy, WV 25002

/s/

Howard R. Rubin
